                       Case 1:19-cr-00218-JKB Document 1 Filed 04/30/19 Page 1 of 3
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                                       IN TIlE UNITED STATES DISTRICT cOYfl.JAP~                       30 P                l(:   16
                                           FOR THE DISTRICT OF MARYLAND                                ..             -I::
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             UNITED STATES OF AMERICA                            *     CRIMINAL NO. \If)                   i5-,.g::.
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                                                                 *     (I'OSSESSIOl"J>F A FIREA~!Y')NA
                       v.                                        *     FEDERAL FACILITY,'I8lJ:S.t.  ~
                                                                 *     930(a»
             SYLVESTER DORSEY                                    *
                                                                 *
                                                                 *
                      Defendant.                                 *
                                                                 *
                                                             *******

                                                        INDICTMENT

                                                        COUNT ONE

                     The Grand Jury for the District of Maryland charges that:

                      On or about February 12,2019 in the District of Maryland, the defendant,

                                                  SYLVESTER DORSEY,

             knowingly possessed and caused to be present, and did knowingly attempt to possess and attempt

             to cause to be present, a fireann in a Federal Facility, to wit: a Glock Model 27 .40 caliber handgun,

             bearing serial number    HSB373    and six rounds of .40 caliber Winchester           ammunition,                   at the

             Veterans Affairs Medical Center located at 10 North Greene Street, Baltimore, MD 21201.

             18 U.S,c. ~ 930(a)
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         Thc Grand Jury for thc District of Maryland furthcr chargcs that:

         I.      The allcgations contained in Count Onc of this Indictment arc hcreby rcalleged

and incorporatcd by refercnce for thc purpose of alleging forfeitures pursuant to Titlc 18, United

States Code, Section 924(d) and Title 28, United States Code, Section 2461(c).

         2.      Upon conviction ofthc offense in violation of Title 18, United States Code,

Section 930(a) set forth in Count Onc of this Indictment, the defendant, SYLVESTER

DORSEY, shall forfeit to thc United States pursuant to Title 18, United States Code, Section

924(d) and Title 28, Unitcd Statcs Code, Section 2461(c), any fireamls and ammunition involved

in the commission of the offense, including, but not limitcd to:

                 a.     one Glock Model 27 .40 caliber handgun, bearing serial number HSB373

                        and any and all rounds of ammunition contained therein or possessed by

                        thc defendant, including but not limited to six rounds of.40 caliber

                        Winchester ammunition.

        3.       If any of the property dcscribed above, as a result of any act or omission

ofthc defendant:

                 a.     cannot bc locatcd upon the exercise of due diligcnce;

                 b.     has been transferred or sold to, or deposited with, a third party;

                 c.     has been placed beyond the jurisdiction of the court;

                 d.     has been substantially diminished in value; or

                 e.     has becn commingled with other property which cannot be divided

                        without difficulty,
                                                   2
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       the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

       21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

       2461 (c).

       18 U.S.C.     S 924(d)
       28 U.S.c.     S 2461(c)


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                                                             Robert K. Hur
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                                                             United States Attorney                     ~


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